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 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       No. 2:13-cr-00056-TLN
12
                       Plaintiff,                    ORDER
13
            v.
14

15   ANTHONY SANTINO MORENO,
16
                       Defendant.
17

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19          On February 19, 2016, Defendant Anthony Santino Moreno (“Defendant”), a federal
20   prisoner proceeding pro se, filed a motion seeking a recommendation from this Court to the
21   Bureau of Prisons (“BOP”) that Defendant be considered for five months of halfway house
22   placement. (ECF No. 81.) Under 18 U.S.C. § 3621, the BOP has discretionary authority to
23   consider community confinement or other pre-release alternatives. Rodriguez v. Smith, 541 F.3d
24   1180, 1184 (9th Cir. 2008). While the statute indicates that the BOP may consider “any statement
25   by the court that imposed the sentence,” the BOP does not require such a statement to proceed
26   with its placement decisions. 18 U.S.C. § 3621. Therefore, the Court declines to offer a
27   recommendation to the BOP regarding Defendant and defers to the BOP’s discretion in
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                                                     1
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 1   determining Defendant’s placement for the duration of his sentence. For these reasons,
 2   Defendant’s request for a recommendation is hereby DENIED.
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 4   Dated: May 24, 2016
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                                                        Troy L. Nunley
 7                                                      United States District Judge

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